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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

IN RE:                                                                                CHAPTER 7

EASTERN AIR FLOW, LLC                                                         CASE NO. 18-51740

DEBTOR


                   AMENDMENT TO SCHEDULE F OF THE PETITION



       Comes the Debtor, EASTERN AIR FLOW, LLC, by and through the court-appointed

designated representative, and after being duly sworn, hereby amends its Bankruptcy Petition to

add an unsecured, non-priority creditor to Schedule F that was recently discovered as being omitted

from the original petition, under oath and subject to penalties of perjury, as follows:

1.     Name and Address of Creditor                           Amount         Description

Logan and Carla Calhoun                                       $2,500         Product delivered or
285 Ronnies Way                                                              services rendered or
Emmalena, KY 41740                                                           credit extended
                                                                             By Contract dated
                                                                             3/1/2018, resulting in
                                                                             Civil summons issued
                                                                             On 3/1/2019 in Knott
                                                                             District Court, Case
                                                                             #19-S-3
                                                                             Amount is disputed.




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        I, JUSTIN TROUT, being the court-appointed designated representative of the Debtor,
EASTERN AIR FLOW, LLC, hereby verifies under oath and subject to penalty of perjury, that
the information stated above is true and correct to the best of my information, knowledge and
belief.


                                               EASTERN AIR FLOW, LLC


Dated: March 13, 2019                          BY:_ /s/ Justin Trout                                 .
                                                    JUSTIN TROUT, President


                                  CERTIFICATE OF SERVICE

        This is to certify that on this the 14th day of March 2019, a copy of the foregoing was served
electronically in the method established under CM/ECF Administrative Procedures Manual to all
attorneys of record, including the Chapter 7 Trustee and the U.S. Trustee and by email to the
Debtor, and that all creditors listed above, by U.S. Mail, first class postage prepaid, along with a
copy of the Notice of Commencement of the Chapter 7 Case with the full EIN [Doc. #2].

BUNCH & BROCK, PSC


BY:  /s/ Matthew B. Bunch                               .
   MATTHEW B. BUNCH, ESQ.
   271 W. Short Street, Suite 805
   Lexington, KY 40507
   (859) 254-5522
COUNSEL FOR DEBTOR




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Logan and Carla Calhoun
285 Ronnies Way
Emmalena, KY 41740




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